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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                      www.flsb.uscourts.gov

In re:                                                               Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al., 1                               Case No.: 22-17842-PDR

         Debtors.                                                    (Jointly Administered)
                                                       /

     DEBTORS’ MOTION FOR AN ORDER APPROVING THE ASSUMPTION
AND ASSIGNMENT OF UNEXPIRED SETTLEMENT AGREEMENT BETWEEN JHO
INTELLECTUAL PROPERTY HOLDINGS, LLC AND FERRARA CANDY COMPANY

         Vital Pharmaceuticals, Inc., Bang Energy Canada, Inc., JHO Intellectual Property

Holdings, LLC, JHO Real Estate Investment, LLC, Quash Seltzer, LLC, Rainbow Unicorn Bev

LLC and Vital Pharmaceuticals International Sales, Inc. (collectively, the “Debtors”), by and

through their undersigned counsel, file this motion (the “Motion”) seeking the entry of an

Order, pursuant to 11 U.S.C. § 365(a) and (f), seeking approval of the assumption and

assignment of that certain Settlement Agreement dated February 15, 2019 (the “Agreement”),

entered into by and between JHO Intellectual Property Holdings, LLC (“JHO”) and Ferrara

Candy Company (“Ferrara”). In support of the Motion, the Debtors respectfully represent as

follows:




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  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal
tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454);
(iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash
Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales,
Inc. (8019).
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                                          I.       Jurisdiction

         1.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

             2.    Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         II.       Background

             3.    On October 10, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the Bankruptcy Code.

             4.    The Debtors are operating their business and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

             5.    For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the Declaration of John C. DiDonato in

Support of Chapter 11 Petitions and First Day Pleadings [ECF No. 26] filed on the Petition

Date.

             6.    On October 11, 2022, the Court entered an order jointly administering the

Debtors’ chapter 11 cases [ECF No. 43].

             7.    On November 1, 2022, the Office of the United States Trustee appointed an

Official Committee of Unsecured Creditors (the “Committee”) in these chapter 11 cases [ECF

No. 245].

             8.    On January 27, 2023, the Debtors filed their Motion for An Order (I) Approving

(A) Bidding Procedures for the Sale of Substantially all of the Debtors' Assets, (B) Procedures

for the Debtors' Assumption and Assignment of Certain Executory Contracts and Unexpired

Leases, (C) the Form and Manner of Notice of the Sale Hearing, Assumption Procedures, and

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Auction Results, (D) Dates for an Auction and Sale Hearing, (E) the Sale of Substantially all off

the Debtors' Assets Free and Clear of all Claims, Liens, Liabilities, Rights, Interests and

Encumbrances, and (F) the Debtors' Assumption and Assignment of Certain Executory Contracts

and Unexpired Leases, (II) Authorizing The Debtors to Provide Bid Protections, and (III)

Granting Related Relief Filed by Debtor Vital Pharmaceuticals, Inc. [ECF No. 707] (the “Sale

Motion”).

             9.     On June 28, 2023, the Debtors filed a Notice of Auction Cancellation and

Successful Bidder [ECF No. 1546], announcing that the Debtors entered into an Asset Purchase

Agreement (“APA”) by and between certain of the Debtors and Blast Asset Acquisition, LLC, an

acquisition vehicle that is a subsidiary of Monster Beverage Corporation (the “Buyer”) and

scheduled a hearing to approve the APA on July 12, 2023 (the “Sale Hearing”).

             10.    On July 12, 2023, the Court conducted the Sale Hearing and approved the APA,

which was memorialized by the entry of the Order (I) Authorizing and Approving (A) the Sale of

Substantially All of The Debtors’ Assets Free and Clear of All Liens, Claims, And Encumbrances

And (B) The Assumption And Assignment Of Certain Executory Contracts and Unexpired Leases

in Connection Therewith, And (II) Granting Related Relief [ECF No. 1654], as amended by ECF

No. 1658 (the “Sale Order”).

             11.    The transaction contemplated by the APA closed on July 31, 2023. Pursuant to

the APA, Energy Beverages LLC, a Delaware limited liability company ("IP Buyer") was the

entity designated by the Buyer to receive the title to the intellectual property sold by the Debtors.




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Section 2.5(h) of the APA permits the Buyer to designate additional contracts as Assumed

Contracts post-closing.2

             12.    On September 1, 2023, the Debtors filed their Debtors' Second Amended Joint

Plan of Liquidation [ECF No. 1905, the "Plan"] and Second Amended Disclosure Statement for

the Debtors' Second Amended Joint Plan of Liquidation Pursuant to Chapter 11 of the

Bankruptcy Code [ECF No. 1904, the "Disclosure Statement"].

             13.    Article X. of the Plan provides:

                    A. Rejection of Executory Contracts

                    On the Effective Date, except as otherwise provided in the Plan, each Executory
                    Contract not previously rejected, assumed, or assumed and assigned shall be
                    deemed automatically rejected pursuant to sections 365 and 1123 of the
                    Bankruptcy Code, unless such Executory Contract: (i) is identified for assumption
                    in the Plan Supplement; (ii) as of the Effective Date is subject to a pending
                    motion to assume such Executory Contract; (iii) is a contract, instrument,
                    release, indenture, or other agreement or document entered into in connection
                    with the Plan; or (iv) is a D&O Policy. See Plan, Article X (emphasis added).

             14.    The hearing on the confirmation of the Plan was held on October 31, 2023,

however, as of the date of this Motion, the Effective Date has not occurred.

             15.    On November 6, 2023, pursuant to the APA and the Sale Order, Buyer delivered

notice to the Debtors identifying the Agreement as one which the Buyer requests be assigned to

it in accordance with the APA.




2
  The APA provides: "In addition to all other rights granted to the Buyer regarding the designation of Contracts to be
Assumed Agreements or Assumed Real Property Leases hereunder, the Buyer shall have the right after the Closing
to designate in writing, additional Contracts as Assumed Agreements or Assumed Real Property Leases, in each
case to the extent permitted by applicable Law, until such Contracts are sold, transferred, rejected or wound down by
the Debtor Entities." See APA §2.5(h).
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                               III. Relief Requested And Basis Therefor

             16.    Pre-petition, JHO and Ferrara entered into the Agreement resolving a dispute over

a certain U.S. trademark application, Serial No. 86687345 (the "Mark") and governing the

permitted future use of the Mark by each party.

             17.    The Agreement has not expired by its own terms and was not terminated prior to

the Petition Date. The Agreement, therefore, constitutes an executory contract pursuant to §365

of the Bankruptcy Code.

             18.     Section 365 of the Bankruptcy Code provides that a debtor in possession, subject

to the court’s approval, may assume an executory contract. The decision to assume a contract by

a debtor in possession is subject to review under the business judgment standard. In re

Gardinier, Inc., 831 F.2d 974, 976 (11th Cir. 1987). The business judgment standard requires that

the court approve the debtor’s business decision unless that judgment is the product of bad faith,

whim, or caprice. Lubrizol Enterprises v. Richmond Metal Finishes, 756 F.2d 1043, 1047 (4th

Cir. 1985). The sole inquiry is whether assumption or rejection will benefit the debtor’s estate.

Id.

             19.    The Debtors respectfully request entry of an Order approving the assumption and

assignment of the Agreement to the IP Buyer.

             20.    The Debtors submit that such assumption complies with the provisions of § 365

and satisfies the business judgment standard for the reasons set forth above.

         WHEREFORE, the Debtors respectfully request entry of an Order, in the form attached

hereto as Exhibit A, (i) granting this Motion; (ii) approving the assumption and assignment of



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the Agreement to the IP Buyer; and (iii) granting such other and further relief as is equitable, just

and proper.

Dated: November 8, 2023                                Respectfully submitted,
       Miami, Florida
                                                       /s/ Michael J. Niles
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                                   EXHIBIT “A”

                                 (PROPOSED ORDER)




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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
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In re:                                                          Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al., 1                          Case No.: 22-17842-PDR

         Debtors.                                               (Jointly Administered)
                                                   /

    ORDER APPROVING THE ASSUMPTION AND ASSIGNMENT OF UNEXPIRED
     SETTLEMENT AGREEMENT BETWEEN JHO INTELLECTUAL PROPERTY
             HOLDINGS, LLC AND FERRARA CANDY COMPANY


         THIS MATTER came before the Court for hearing on _____________, 2023 at

____a.m./p.m. in Ft. Lauderdale, Florida, upon the Debtors’ Motion for an Order Approving the

Assumption of Unexpired Settlement Agreement Between JHO Intellectual Property Holdings,

1
  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the
Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate
Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
(vii) Vital Pharmaceuticals International Sales, Inc. (8019).
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LLC and Ferrara Candy Company [ECF No. ____] (the “Motion”). The Court has jurisdiction

over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to

28 U.S.C. § 157(b)(2). The Court, having considered the Motion, finds that (a) the relief

requested in the Motion is in the best interests of the Debtors’ estate and their creditors, (b) good

and adequate notice of the Motion was provided, and (c) sufficient cause supports the relief

sought in the Motion, inasmuch as the relief request is consistent with the terms of the APA and

Sale Order.2 Accordingly, the Court ORDERS:

          1.        The Motion is GRANTED.

          2.        The Debtors are authorized to assume the Settlement Agreement and assign the

Settlement Agreement to the IP Buyer pursuant to the terms of the APA and Sale Order. The

Debtors’ decision to assume and assign the Agreement is a decision made within the scope of

their business judgment.

          3.        The Debtors are authorized to execute and deliver all instruments and documents

and take such other actions as may be necessary or appropriate to implement and effectuate this

Order.

          4.        The Court retains jurisdiction with respect to any matters, claims, rights or

disputes arising from or related to the Motion or implementation of this Order.

                                                       #   #    #




2
    All capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case and file a conforming certificate of service.)




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